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IN THE UNITED STATES DISTRICT COURT! ©"*
FOR THE SOUTHERN DISTRICT OF NEW YORK...”

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IN RE TERRORIST ATTACKS ON :  ECFCASE 07"

SEPTEMBER 11, 2001.

This Order relates to:

Kathleen Ashton v. Al Qaeda Islamic Army, et al., 02-CV-6977 (689)
Federal Insurance Company v., Al Qaeda Islamic Army, et al., 03-CV-6978 (ean)
Continental Casualty Co., et al. v. Al Qaeda Islamic Army, et al., 04-CV-05970 (eB)
New York Marine and General Insurance Co. v. Al Qaida, et al., 04A-CV-6105 (6BD)
ORDER GRANTING MOTION FOR LEAVE
FOR JOHN L. CUDDIHY TO WITHDRAW AS COUNSEL
FOR DEFENDANT ABDULRAHMAN BIN MAHFOUZ
This matter is before the Court upon the Motion of Defendant Abdulrahman Bin
Mahfouz (“Mr. Bin Mahfouz”), pursuant to Local Civi! Rule 1.4, for an Order granting John L.

Cuddihy leave to withdraw as counse! for Mr. Bin Mahfouz in the above-captioned actions.
Upon consideration of the Motion, it is hereby

ORDERED that the Motion be and hereby is GRANTED; and

It is FURTHER ORDERED that the appearances of Messrs. Gerald A. Feffer

and Peter J. Kahn of Williams & Connolly LLP as counsel for Mr. Bin Mahfouz will remain

unchanged.

DONE AND ORDERED on this 20" day of duly , 2007.

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JOM. GEORGE B. DANIELS

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